  Case 14-80660      Doc 49       Filed 05/22/18 Entered 05/22/18 14:15:54           Desc Main
                                    Document     Page 1 of 5




                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINIOS


In re: NICOLE L. MIESNER                     §       Case No. 14-80660
                                             §
                                             §
             Debtor(s)                       §
        CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


Lydia S. Meyer, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as follows:

       1) The case was filed on 03/04/2014.

       2) The plan was confirmed on 06/27/2014.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          11/03/2017.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the
          plan on
          01/04/2016, 02/05/2016, 03/03/2017, 04/14/2017, 09/06/2017, 02/01/2018,
          03/08/2018.

       5) The case was dismissed on 03/08/2018.

       6) Number of months from filing or conversion to last payment: 42.

       7) Number of months case was pending: 50.

       8) Total value of assets abandoned by court order: NA.

       9) Total value of assets exempted: $6,625.00.

       10) Amount of unsecured claims discharged without full payment: $0.00.

       11) All checks distributed by the Trustee relating to this case have cleared the bank.



UST Form 101-13-FR-S (9/1/2009)
  Case 14-80660      Doc 49       Filed 05/22/18 Entered 05/22/18 14:15:54       Desc Main
                                    Document     Page 2 of 5




Receipts:
      Total paid by or on behalf of the debtor(s)           $ 18,755.00
      Less amount refunded to debtor(s)                         $ 25.00
NET RECEIPTS                                                                    $ 18,730.00



Expenses of Administration:

       Attorney's Fees Paid Through the Plan                 $ 2,200.00
       Court Costs                                                $ 0.00
       Trustee Expenses & Compensation                       $ 1,314.80
       Other                                                      $ 0.00

TOTAL EXPENSES OF ADMINISTRATION                                                 $ 3,514.80

Attorney fees paid and disclosed by debtor(s):               $ 1,800.00



Scheduled Creditors:
Creditor                                        Claim       Claim       Claim    Principal    Interest
Name                                Class   Scheduled    Asserted    Allowed         Paid        Paid
ERIC PRATT LAW FIRM P.C.            Lgl      4,000.00    4,000.00    4,000.00    2,200.00        0.00
ALPINE BANK & TRUST CO              Sec      3,313.00    3,365.36    3,356.36    2,378.87      846.13
ALPINE BANK & TRUST CO              Uns          0.00        0.00        9.00        0.00        0.00
KGH INVESTMENTS                     Uns          0.00         NA          NA         0.00        0.00
INTERSTATE INTRINSIC VALUE          Sec          0.00   80,616.78        0.00        0.00        0.00
INTERSTATE INTRINSIC VALUE          Sec     14,000.00   12,478.71   12,478.21    8,790.20        0.00
WINNEBAGO COUNTY TREASURER          Sec      3,200.00    3,200.00    3,200.00    3,200.00        0.00
ATLANTIC CRD                        Uns     10,802.00         NA          NA         0.00        0.00
ATLANTIC CREDIT AND FINANCE         Uns      1,200.00   10,802.13   10,802.13        0.00        0.00
PORTFOLIO RECOVERY                  Uns          0.00    1,616.97    1,616.97        0.00        0.00
COMMONWEALTH EDISON CO              Uns        400.00      407.44      407.44        0.00        0.00
QUANTUM3 GROUP LLC as agent for     Uns        413.00      413.24      413.24        0.00        0.00
PORTFOLIO RECOVERY                  Uns      1,164.00    1,164.19    1,164.19        0.00        0.00
DEPARTMENT OF EDUCATION/            Uns          0.00   11,559.78        0.00        0.00        0.00
PORTFOLIO RECOVERY                  Uns      1,617.00         NA          NA         0.00        0.00
CREDITORS RESOURCE SERVICE          Uns      1,200.00    1,185.07    1,185.07        0.00        0.00
COTTONWOOD FINANCIAL                Uns      2,000.00    2,054.04    2,054.04        0.00        0.00
US DEPT OF TREASURY - FMS           Uns     17,500.00         NA          NA         0.00        0.00



UST Form 101-13-FR-S (9/1/2009)
  Case 14-80660      Doc 49       Filed 05/22/18 Entered 05/22/18 14:15:54   Desc Main
                                    Document     Page 3 of 5




Scheduled Creditors:
Creditor                                       Claim      Claim      Claim   Principal   Interest
Name                                Class   Scheduled   Asserted   Allowed       Paid       Paid
PORTFOLIO RECOVERY                  Uns          0.00    791.73     791.73       0.00       0.00
PORTFOLIO RECOVERY                  Uns          0.00    420.91     420.91       0.00       0.00




UST Form 101-13-FR-S (9/1/2009)
  Case 14-80660      Doc 49       Filed 05/22/18 Entered 05/22/18 14:15:54     Desc Main
                                    Document     Page 4 of 5




Summary of Disbursements to Creditors:

                                               Claim             Principal           Interest
                                               Allowed           Paid                Paid
Secured Payments:
      Mortgage Ongoing                               $ 0.00           $ 0.00             $ 0.00
      Mortgage Arrearage                       $ 12,478.21       $ 8,790.20              $ 0.00
      Debt Secured by Vehicle                   $ 3,356.36       $ 2,378.87           $ 846.13
      All Other Secured                         $ 3,200.00       $ 3,200.00              $ 0.00
TOTAL SECURED:                                 $ 19,034.57      $ 14,369.07           $ 846.13

Priority Unsecured Payments:
        Domestic Support Arrearage                  $ 0.00           $ 0.00                $ 0.00
        Domestic Support Ongoing                    $ 0.00           $ 0.00                $ 0.00
        All Other Priority                          $ 0.00           $ 0.00                $ 0.00
TOTAL PRIORITY:                                     $ 0.00           $ 0.00                $ 0.00

GENERAL UNSECURED PAYMENTS:                    $ 18,864.72           $ 0.00                $ 0.00



Disbursements:

       Expenses of Administration               $ 3,514.80
       Disbursements to Creditors              $ 15,215.20

TOTAL DISBURSEMENTS:                                            $ 18,730.00




UST Form 101-13-FR-S (9/1/2009)
  Case 14-80660        Doc 49      Filed 05/22/18 Entered 05/22/18 14:15:54               Desc Main
                                     Document     Page 5 of 5




        12) The Trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests a final decree be entered that discharges the Trustee and grants such other relief as may
be just and proper.




Date: 05/22/2018                        By: /s/ Lydia S. Meyer
                                                 Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
